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D'AMATO DECLARATION
      EXHIBIT A
  FILED UNDER SEAL
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                                                                                       Page 1
 1                  UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN JOSE DIVISION
 4
 5   APPLE INC., a California
     corporation,
 6

                     Plaintiff,
 7

     vs.                                            CASE NO.               11-cv-01846-LHK
 8

     SAMSUNG ELECTRONICS CO.,
 9   LTD., a Korean business
     entity; SAMSUNG ELECTRONICS
10   AMERICA,INC., a New York
     corporation; SAMSUNG
11   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited
12   liability company,
13                Defendants.
     ____________________________/
14
15
16              H I G H L Y   C O N F I D E N T I A L
17              O U T S I D E C O U N S E L O N L Y
18
19          VIDEOTAPED DEPOSITION OF CHRISTOPHER STRINGER
20                REDWOOD SHORES, CALIFORNIA
21                  FRIDAY, NOVEMBER 4, 2011
22
23   BY: ANDREA M. IGNACIO HOWARD, CSR, RPR, CCRR, CLR
24   CSR LICENSE NO. 9830
25   TSG JOB NO. 43706

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                                                                            Page 5
 1   themselves for the record.
 2             MR. ZELLER:           Mike Zeller for Samsung.
 3             MR. JACOBS:           Michael Jacobs from Morrison &
 4   Foerster for Apple.             With me is Cyndi Wheeler from
 5   Apple Legal.
 6             THE VIDEOGRAPHER:                 Thank you.
 7             Will the reporter please swear the witness.
 8

 9                       CHRISTOPHER STRINGER,
10               having been sworn as a witness,
11             by the Certified Shorthand Reporter,
12                       testified as follows:
13

14             THE VIDEOGRAPHER:                 Thank you.
15             Please proceed.
16

17                   EXAMINATION BY MR. ZELLER
18             MR. ZELLER:           Let's please mark as
19   Exhibit 1161 the Reply Declaration of Christopher
20   Stringer in Support of Apple's Motion for Preliminary
21   Injunction.
22             (Document marked Exhibit 1161
23              for identification.)
24             MR. ZELLER:           Q.      Please let me know when
25   you've reviewed 1161.

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                                                                            Page 94
 1       A     Yes.
 2       Q     -- that you see there, had you seen tablet
 3   computer models there at Apple back in the 2004 time
 4   period that had that kind of broader gap in that
 5   general location?
 6       A     I do not recall seeing such gaps on models
 7   for tablet projects.
 8       Q     Do you have any understanding or information
 9   as to why there is what we're calling that broader
10   gap?
11       A     I do not have a recollection of this design,
12   so I do not know the purpose of that broader gap.
13       Q     And you'll see, if you look in the opening of
14   the larger gap -- and you'll have to look at it at
15   various angles, but you can see that there appears to
16   be some kind of detail on the interior there?
17       A     I see that.
18       Q     Do you know what that is?
19       A     It's a very tight-ribbed component -- or are
20   they holes?      I can't tell.
21       Q     Do you know if that -- that ribbed component
22   or those holes were intended -- because obviously,
23   we're talking about a nonworking model -- to -- to be
24   vent holes or whether they were purely ornamental or
25   something else?

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                                                                            Page 95
 1       A     I don't know.
 2       Q     Direct your attention back to the '889 design
 3   patent.
 4       A     Yes.
 5       Q     Do you have any knowledge or information as
 6   to whether or not photographs of that physical mockup
 7   that you have in front of you, the 035 mockup, were
 8   submitted to the patent office as part of the
 9   application and prosecution process for the
10   '889 design patent?
11       A     In my preparations for today, we looked at
12   copies of photographs of this object that I understand
13   are attached to this patent.
14       Q     And so if I understand you correctly, it's
15   your understanding that the photographs that were
16   submitted to the patent office as part of the
17   '889 design patent depict the three-dimensional mockup
18   that you have in front of you that we call the 035?
19       A     It is my understanding, and my recollection
20   of yesterday's discussion, that the photographs that I
21   saw related to this model and this patent.
22       Q     Right.
23             And I guess I'm trying to now figure out
24   what -- what photographs we're talking about so that
25   we're on the same page.                 So let me -- let me provide

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                                                                                      Page 96
 1   some, and maybe that will help.
 2             What's the next number?
 3             THE REPORTER:            1171.
 4             MR. ZELLER:          1171?
 5             THE REPORTER:            Yes.
 6             MR. ZELLER:          Please mark as Exhibit 1171
 7   excerpts from the prosecution history of the
 8   504,889 design patent.
 9             (Document marked Exhibit 1171
10              for identification.)
11             THE WITNESS:           Thank you.
12             MR. ZELLER:          So you have both sets in front
13   of you at the same time, let's also please mark as
14   Exhibit 1172 -- I'm sorry.                   Actually, we marked this
15   before.    What's this exhibit number?                            I think it's
16   841.
17             MR. JACOBS:          He has the better photos.                    He
18   has the better photos.
19             MR. ZELLER:          Don't worry.                I gave you the
20   other set, too.        I'm not trying to be totally unfair
21   here.
22             So I'm going to show you what I am fairly
23   confident was previously marked as Exhibit 841.                              We'll
24   in the interim confirm that that is the exhibit
25   number, but I believe I have it memorized now.

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                                                                            Page 99
 1   that's depicted in the photographs that we marked as
 2   Exhibit 841, where the -- where the mockup is shown,
 3   the same physical mockup that you have in front of you
 4   that we call the 035 mockup?
 5       A    I believe you're asking me, are these
 6   photographs of the subject?                    And it is my belief that
 7   these are photographs of the object.
 8       Q    And so the record is clear, when you say --
 9       A    Oh.
10       Q    -- "the photographs," you're referring to the
11   photographs that are depicted in 841, and then the
12   object that you're pointing to and referring to is
13   what we call the 035 model?
14       A    Yes.
15            MR. JACOBS:           If we could just ask you,
16   Mr. Zeller, is this -- these -- this writing on this,
17   is this in the '841 that you -- that is in the record?
18   I'm looking at '18792.
19            MR. ZELLER:           This is exactly how it was
20   produced to us.
21            MR. JACOBS:           Oh, with these lines on it?
22            MR. ZELLER:           Right.
23            THE WITNESS:            I recall those lines yesterday.
24            MR. JACOBS:           Okay.
25            MR. ZELLER:           All right.

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                                                                                  Page 100
 1       Q     And setting aside the various lines and
 2   drawings that appear to be on these photographs, you
 3   understood I was asking you about the object that's
 4   depicted in the actual photographs; is that correct?
 5       A     Yes.
 6       Q     And without disclosing the substance of what
 7   you discussed with your counsel, did -- did you
 8   satisfy yourself that the 035 mockup is, in fact,
 9   what's in the -- the photographs that we've marked as
10   Exhibit 841?
11       A     I am convinced from studying both the object
12   035 and the Document 841 that these are one and the
13   same object.
14       Q     And that comparison that you did led you to
15   be satisfied that they're one and the same?
16       A     Yes.    I studied the photographs.                          I studied
17   the object.      I believe that these are photographs of
18   model Apple Proto 035.
19       Q     And directing your attention, then, to the
20   page ending '18787, which is part of Exhibit 841.
21       A     Yes.
22       Q     And working with the images such as we have
23   them --
24       A     Yes.
25       Q     -- is that ribbing that you see there that

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                                                                            Page 101
 1   runs along what we can generally say is the perimeter
 2   of the -- the front surface, at least in terms of the
 3   corner that appears closest to the -- to the --
 4       A     Yes, ribbing or holes.                      I need to pick the
 5   model apart to be sure, but it looks more like some
 6   form of rib.
 7       Q     And that's one of the comparisons that you
 8   see between the photographs and the three-dimensional
 9   model, the 035 model, that satisfied you that they're
10   one and the same?
11       A     That is one of the details that satisfied me
12   that it was one and the same.
13       Q     Directing your attention to '18790.
14       A     Yes.
15       Q     You'll see that, at least as shown in this
16   image here, there appears to be a somewhat thicker,
17   darker line that runs at least part of the perimeter
18   of the front of the device that can be seen there on
19   the front; do you see that?
20       A     There are a number of parallel lines, one of
21   which is darker and broader than others.
22       Q     And does that line, in your view, correspond
23   to the -- the broader gap that's discernible there on
24   the 035 model?
25       A     It appears to be either the edge of the cover

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                                                                          Page 120
 1       A    Where is it?
 2       Q    It's the photographs that we were working
 3   with of the model on the cusp.
 4       A    I have it.
 5       Q    And could you look, please, at -- could you
 6   look please at the page marked '18781.
 7       A    I am looking at it now.
 8       Q    Do you see above there's a hole and an
 9   insignia above the hole that looks like a headphone?
10       A    That is a headphone icon.
11       Q    And the hole, what does that represent to
12   you?
13       A    That represents the headphone socket.
14       Q    When you compared the -- the model marked 035
15   to '18781, did you compare the apparent color of the
16   headphone icon on the model to the apparent color of
17   the headphone icon on the photograph?
18       A    Yes.
19       Q    And what did you -- did you observe any
20   difference between the two?
21       A    Yes, it appears white in the real world with
22   the model.     It appears black on this image.
23       Q    What did you con- -- what did you conclude as
24   you compared 035 to the photographs depicted in 841
25   about why the headphone icon looked different?

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                                                                               Page 121
 1       A    It's the nature of the translucent material.
 2   The white icon on the model was created by a rubdown
 3   which is a transfer similar to retrosic, if that's
 4   more familiar, and on the outside surface shadowing
 5   occurs, and quite often the shadow reads stronger than
 6   the actual icon itself.
 7       Q    Reads stronger in what circumstance?
 8       A    As more visible, as more pronounced.
 9       Q    In what con- -- in the photographs?                         In the
10   model?   In which context is it more pronounced?
11       A    In the context of, if it's a luminous object
12   and it's lit from the back, you'll just see darkness
13   on that icon because you're seeing the shadow of the
14   icon, and in other lighting conditions you will see
15   the shadow reflected on the inside surface more
16   strongly than you may see the actual icon printed on
17   the outside.
18       Q    So what did you conclude about whether the
19   model 035 is represented by the photographs in 841
20   based on the apparent difference in color?
21       A    I was convinced that this was that phenomenon
22   taking place and that this was same object.
23            MR. JACOBS:          No further questions.
24            MR. ZELLER:          Nothing further at this point.
25            THE VIDEOGRAPHER:                This marks the end of Disc

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                                                                          Page 122
 1   No. 3 of 3 and concludes today's deposition of Chris
 2   Stringer.
 3            The time is 3:23 p.m., and we are off record.
 4            (WHEREUPON, the deposition ended at
 5              3:23 p.m.)
 6                                    ---oOo---
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                                                                          Page 124
 1                     CERTIFICATE OF REPORTER
 2

 3

 4             I, ANDREA M. IGNACIO HOWARD, hereby certify
 5   that the witness in the foregoing deposition was by me
 6   duly sworn to tell the truth, the whole truth, and
 7   nothing but the truth in the within-entitled cause;
 8

 9             That said deposition was taken in shorthand
10   by me, a Certified Shorthand Reporter of the State of
11   California, and was thereafter transcribed into
12   typewriting, and that the foregoing transcript
13   constitutes a full, true and correct report of said
14   deposition and of the proceedings which took place;
15

16             That I am a disinterested person to the said
17   action.
18

19             IN WITNESS WHEREOF, I have hereunto set my
20   hand this 4th day of November 2011.
21

22             _______________________________________
23   ANDREA M. IGNACIO HOWARD, RPR, CCRR, CLR, CSR No. 9830
24

25



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